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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


 AMERICAN ACADEMY OF
 PEDIATRICS, et al.,

                  Plaintiffs,

         v.                                        Civil Action No. 8:18-cv-883-PWG

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                  Defendants.


                                           ORDER

      Upon consideration of Defendants’ motion under Federal Rule of Civil Procedure 60(b)

for a 120-day extension of the premarket application deadline imposed by the Court’s remedy

order [ECF No. 127] in light of the global outbreak of respiratory illness caused by a new

coronavirus, it is hereby ORDERED that

      The motion is GRANTED; and it is further

      ORDERED that paragraph 1 on page 12 of the remedy order is modified to read as follows:

      “1. the FDA shall require that, for new tobacco products on the market as of the August 8,

      2016 effective date of the Deeming Rule (“New Products”), applications for marketing

      orders must be filed by September 9, 2020;” and it is further

      ORDERED that all other references in the remedy order to the “ten-month deadline for

      submissions” are modified to read the “September 9, 2020 deadline for submissions.”



Dated: April 22, 2020                                    /S/
                                                   PAUL W. GRIMM
                                                   United States District Judge
